             Case 18-50990             Doc 43        Filed 08/16/19 Entered 08/16/19 14:59:36                        Desc Main
                                                       Document     Page 1 of 2

 Fill in this information to identify your case:
 Debtor 1             Joel                Edward                 Smith
                      First Name          Middle Name            Last Name

 Debtor 2            Julie                Anne                   Smith
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF VIRGINIA

 Case number          18-50990
 (if known)                                                                                                                  Check if this is an
                                                                                                                              amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15

If you are an individual filing under chapter 7, you must fill out this form if:

 creditors have claims secured by your property, or

 you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:          List Your Creditors Who Hold Secured Claims

1.   For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
     fill in the information below.

     Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                       property that secures a debt?                as exempt on Schedule C?

     Creditor's        BB&T                                                 Surrender the property.                   No
     name:                                                                   Retain the property and redeem it.         Yes
                                                                                                                   
     Description of                                                         Retain the property and enter into a
                       204 Laurel HIll Drive Stephens City, VA
     property                                                                Reaffirmation Agreement.
                       22655
     securing debt:                                                         Retain the property and [explain]:
                                                                             Debtor will continue making payments to creditor without
                                                                             reaffirming.


     Creditor's        BB&T                                                 Surrender the property.                   No
     name:                                                                   Retain the property and redeem it.         Yes
                                                                                                                   
     Description of                                                         Retain the property and enter into a
                       204 Laurel HIll Drive Stephens City, VA
     property                                                                Reaffirmation Agreement.
                       22655
     securing debt:                                                         Retain the property and [explain]:
                                                                             Debtor will continue making payments to creditor without
                                                                             reaffirming.




Official Form 108                        Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
             Case 18-50990           Doc 43        Filed 08/16/19 Entered 08/16/19 14:59:36                         Desc Main
                                                     Document     Page 2 of 2

Debtor 1     Joel Edward Smith
Debtor 2     Julie Anne Smith                                                           Case number (if known)    18-50990

    Identify the creditor and the property that is collateral       What do you intend to do with the             Did you claim the property
                                                                    property that secures a debt?                 as exempt on Schedule C?
    Creditor's       Bluegreen Vacations                                Surrender the property.                      No
    name:                                                                Retain the property and redeem it.            Yes
                                                                                                                 
    Description of                                                      Retain the property and enter into a
                     BlueGreen Timeshare
    property                                                             Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:


    Creditor's       CitiMortgage                                       Surrender the property.                      No
    name:                                                                Retain the property and redeem it.            Yes
                                                                                                                 
    Description of                                                      Retain the property and enter into a
                     232 Shawnee Avenue Winchester, VA
    property                                                             Reaffirmation Agreement.
                     22601
    securing debt:                                                      Retain the property and [explain]:


    Creditor's       SilverLake Resort                                  Surrender the property.                      No
    name:                                                                Retain the property and redeem it.            Yes
                                                                                                                 
    Description of                                                      Retain the property and enter into a
                     Timeshare
    property                                                             Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                             Will this lease be assumed?

    None.


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Joel Edward Smith                                X /s/ Julie Anne Smith
   Joel Edward Smith, Debtor 1                             Julie Anne Smith, Debtor 2

   Date 08/16/2019                                         Date 08/16/2019
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 2
